     Case 2:24-cv-03132-GW-SK            Document 37 Filed 05/15/25   Page 1 of 3 Page ID
                                               #:286


 1   William M. Aron (SBN No. 234408)
     ARON LAW FIRM
 2   15 West Carrillo Street, Suite 217
 3   Santa Barbara, CA 93101
     Tel: (805) 618-1768
 4   bill@aronlawfirm.com

 5   Attorneys for Plaintiffs and the Class
 6   [Additional Counsel Listed on Signature Page]
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 8
                                     UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
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11
     CAROLYN CHAFFIN, JENNIE KIM, LORI                  Case No. 2:24-cv-03132-GW-SK
12   SINGER, MICHELLE IRWIN, ROXANNE SIMS,
     and DAWN MILLER, individually and on behalf of     UNOPPOSED MOTION TO STAY THE
13   all those similarly situated,                      CASE PENDING DECISION IN THE
                                                        UNITED STATES COURT OF APPEALS
14             Plaintiffs,                              FOR THE NINTH CIRCUIT
15
     v.
16
     INTERNATIONAL COFFEE & TEA, LLC, dba
17   THE COFFEE BEAN & TEA LEAF,
18            Defendant.
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          MOTION TO STAY THE CASE PENDING DECISION IN THE UNITED STATES COURT OF APPEALS FOR THE
                                              NINTH CIRCUIT
                                        CASE NO. 2:24-cv-03132-GW-SK
     Case 2:24-cv-03132-GW-SK                Document 37 Filed 05/15/25          Page 2 of 3 Page ID
                                                   #:287


 1             Plaintiffs, Carolyn Chaffin, Jennie Kim, Lori Singer, Michelle Irwin, Roxanne Sims, and Dawn
 2   Miller (“Plaintiffs”) hereby move for a stay of this case pending resolution of identical legal issues in the
 3   Ninth Circuit Court of Appeals.
 4             1.     This case was filed on April 17, 2024, and challenges Defendant’s alleged policy of
 5   charging lactose intolerant customers a surcharge for replacing milk with a non-diary alternative in their
 6   drinks.
 7             2.     On February 14, 2025, Plaintiffs filed their Second Amended Complaint to address the
 8   change in Defendant’s policies (ECF #32).
 9             3.     On March 28, 2025, Defendant filed its Motion to Dismiss Second Amended Complaint
10   (ECF #34).
11             4.     On April 21, 2025, Honorable Susan Illston entered a decision granting the Motion to
12   Dismiss in Garland et al. v Dunkin Donuts Franchising, LLC, et al., Case No. 3:23-cv-06621-SI, ECF
13   No. 88 (N.D. Cal. Apr. 21, 2025) (“Garland”), a case filed under a legal theory identical with this case.
14             5.     The issues related to the claims under the American with Disabilities Act and the Unruh
15   Act in Garland and the issues in this case are similar and are of first impression.
16             6.     On April 25, 2025, Plaintiffs in the Garland case filed a Notice of Appeal to the ninth
17   Circuit. (attached hereto Exhibit 1).
18             7.     The U.S. Court of Appeals docket number 25-2804 has been assigned to this case.
19   (Doketing Notice attached hereto as Exhibit 2). A decision in that appeal will directly impact a resolution
20   of this case.
21             8.     A district court has discretionary power to stay proceedings in its own court. Lockyer v.
22   Mirant Corp., 398 F.3d 1098 (9th Cir. 2005). A trial court may, with propriety, find it is efficient for its
23   own docket and the fairest course for the parties to enter a stay of an action before it, pending resolution
24   of independent proceedings which bear upon the case. Leyva v. Certified Grocers of California, Ltd., 593
25   F.2d 857, 863 (9th Cir. 1979)
26             9.     The issues to be resolved in the appeal proceedings are controlling of the action before the
27   court and the decision in the Garland appeal is binding on this Court.
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                                   CASE NO. 2:24-CV-03132-GW-SK
     Case 2:24-cv-03132-GW-SK             Document 37 Filed 05/15/25              Page 3 of 3 Page ID
                                                #:288


 1          10.     While the Plaintiffs recognize that a stay should not be granted unless it appears likely the
 2   other proceedings will be concluded within a reasonable time in relation to the urgency of the claims
 3   presented to the court. Leyva, 593 F.2d at 864 (9th Cir. 1979), in this case, the appeal will be concluded
 4   in a reasonable amount of time and the parties are not prejudiced by the wait.
 5          11.     Allowing this action to proceed simultaneously with the appeal would waste significant
 6   judicial resources, subject parties to unnecessary and duplicative litigation, and create a substantial risk of
 7   inconsistent rulings.
 8          12.     Attorneys for Plaintiffs communicated by email with attorneys for Defendant and
 9   Defendant agrees with the relief requested in this Motion.
10          WHEREFORE, the Plaintiffs respectfully request that the Court enter the accompanying order
11   staying the case pending a decision in the United States Court of Appeals for the Ninth Circuit in appeal
12   no. 25-2804, Garland, et al. v. Dunkin Donuts Franchising, LLC, et al.
13   Dated: May 15, 2025,
                                                    Respectfully submitted,
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15                                                  /s/ Bogdan Enica
                                                    Bogdan Enica (Pro Hac Vice)
16                                                  Keith Gibson Law, P.C.
                                                    1200 N. Federal Highway, Suite 200
17                                                  Boca Raton, FL 33432
                                                    Telephone: (305) 539-9206
18
                                                    Email: bogdan@keithgibsonlaw.com
19
                                                    Keith L. Gibson (Pro Hac Vice)
20                                                  KEITH GIBSON LAW, P.C.
                                                    586 Duane Street Suite 102
21                                                  Glen Ellyn, IL 60137
                                                    Telephone: (630) 677-6745
22
                                                    Email: keith@keithgibsonlaw.com
23
                                                    William M. Aron (SBN No. 234408)
24                                                  ARON LAW FIRM
                                                    15 West Carrillo Street, Suite 217
25                                                  Santa Barbara, CA 93101
                                                    Tel: (805) 618-1768
26
                                                    bill@aronlawfirm.com
27
                                                    Counsel for Plaintiffs and the Putative Class
28                                                        3
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                                   CASE NO. 2:24-CV-03132-GW-SK
